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1    Olaf W. Hedberg, SBN #151082
     Olaf W. Hedberg, Attorney at Law
2    901 H St., Suite 673
     Sacramento, CA 95814
3    (916) 447-1192
     Attorney for Defendant FRANK PAUL TURNER
4
                             IN THE UNITED STATES DISTRICT COURT
5                          FOR THE EASTERN DISTRICT OF CALIFORNIA

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7
                                                    )
8    UNITED STATES OF AMERICA                             No. 2:09-cr-00193 KJM
                                                    )
                                                    )
9                   Plaintiff,                            STIPULATION AND ORDER
                                                    )
            vs.
                                                    )
10                                                        Date: March 3, 2011
                                                    )
     FRANK PAUL TURNER, JR.                               Time: 10 am
                                                    )
11   et al                                                Judge: Hon. Kimberly J. Mueller
                                                    )
                                                    )
12                  Defendant.

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            IT IS HEREBY STIPULATED by and between the parties hereto through their
14
     respective counsel, JILL THOMAS, Assistant Untied States Attorney, attorney for Plaintiff,
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     OLAF HEDBERG, attorney fo FRANK PAUL TURNER, JR., SHARI RUSK, attorney for
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     LESLIE MILLER BELL, JR., and MICHAEL LONG, attorney for ANTHONY WILSON, that
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     the status conference now scheduled for March 3, 2011 at 10 am be vacated and a new date of
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     April 7, 2011 at 10 am be set for status conference. The parties continue to be involved in
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     defense investigation; also, the parties have been negotiating the terms of a proposed plea
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     agreement.
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1           It is further stipulated and agreed between the parties that the period beginning March 3,

2    2011 and ending April 7, 2011, 2011, should be excluded in computing the time within which

3    the trial of the above criminal prosecution must commence for the purpose of the Speedy Trial

4    Act for defense preparation. All parties stipulate and agree that this is an appropriate exclusion

5    of time within the meaning of Title 18, United States Code, Section 3161(h)(8)(I) and Local

6    Code T4.

7

8                                                          Respectfully submitted,
                                                           February 28, 2011
9                                                          By /s/ Olaf Hedberg
                                                           Olaf W. Hedberg, Attorney at Law
10                                                         Attorney for Frank Paul Turner, Jr.

11
                                                           February 28, 2011
12                                                         By /s/ Shari Rusk
                                                           Shari Rusk, Attorney at Law
13                                                         Attorney for Leslie Miller Bell, Jr.

14                                                         February 28, 2011
                                                           By /s/ Michael Long
15
                                                           Michael Long, Attorney at Law
16                                                         Attorney for Anthony Wilson

17                                                         February 28, 2011
                                                           Benjamin B. Wagner
18                                                         United States Attorney
                                                           /s/ Olaf Hedberg for Jill Thomas
19                                                         Jill Thomas
                                                           Assistant U.S. Attorney
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2                                                  ORDER

3           IT IS SO ORDERED. The status conference set for March 3, 2011 at 10:00 a.m. is

4    VACATED and RESET for April 7, 2011 at 10:00 a.m. The Court finds an exclusion of time

5    is appropriate under the Speedy Trial Act. Accordingly, time is excluded from March 3, 2011 up

6    to and including April 7, 2011 under Title 18, United States Code, Section 3161(h)(8)(i) and

7    Local Code T4. All counsel is advised that they are required to attend the status conference now

8    set for April 7, 2011, and that no continuance of that date will be granted.

9    DATED: March 2, 2011.

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                                                          UNITED STATES DISTRICT JUDGE
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